              Case 2:23-cv-01495-JHC Document 163 Filed 02/16/24 Page 1 of 2




 1                                                             THE HONORABLE JOHN H. CHUN

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 6
                                 UNITED STATES DISTRICT COURT
                               WESTERN DISTRICT OF WASHINGTON
 7                                        AT SEATTLE
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 9    FEDERAL TRADE COMMISSION, et al.,                       CASE NO.: 2:23-cv-01495-JHC

10                     Plaintiffs,                            DECLARATION OF EMILY K.
                                                              BOLLES IN SUPPORT OF
                  v.                                          PLAINTIFFS’ BRIEF
11                                                            REGARDING NUMBER OF
      AMAZON.COM, INC., a corporation,                        DEPOSITIONS
12
                       Defendant.
13

14 I, Emily K. Bolles, declare as follows:

15          1.     I am an Attorney in the Federal Trade Commission’s (“FTC”) Bureau of

16 Competition, and I represent the FTC in the above-captioned action. I am over eighteen years of

17 age and am competent to testify to the matters set forth in this declaration. I make the following

18 statements based on my personal knowledge.

19          2.     Attached as Exhibit A is a true and correct copy of Amazon’s Initial Disclosures

20 as served on Plaintiffs on November 22, 2023.

21          3.     Attached as Exhibit B is a true and correct copy of an excerpt from the January

22 12, 2024 Joint Case Management Statement in People of the State of California v. Amazon.com,

23 Inc., Case No. CGC-22-601826 (Cal. Super. Ct.).

24
      DECLARATION OF EMILY K. BOLLES IN SUPPORT OF                   FEDERAL TRADE COMMISSION
      PLAINTIFFS’ BRIEF REGARDING NUMBER OF                              600 Pennsylvania Avenue, NW
      DEPOSITIONS                                                               Washington, DC 20580
      No. 2:23-cv-01495 - 1                                                            (202) 326-2222
            Case 2:23-cv-01495-JHC Document 163 Filed 02/16/24 Page 2 of 2




 1         I declare under penalty of perjury that the foregoing is true and correct.

 2         Executed on February 16, 2024, in Washington, DC.

 3                                                           s/ Emily K. Bolles
                                                             Emily K. Bolles
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     DECLARATION OF EMILY K. BOLLES IN SUPPORT OF                    FEDERAL TRADE COMMISSION
     PLAINTIFFS’ BRIEF REGARDING NUMBER OF                               600 Pennsylvania Avenue, NW
     DEPOSITIONS                                                                Washington, DC 20580
     No. 2:23-cv-01495 - 2                                                             (202) 326-2222
